
*1140OPINION.
Smith
: This appeal presents three questions for the determination of the Board: (1) Whether the Board has jurisdiction of this appeal in view of the fact that the appeal is filed in the name of “ Estate of Charles Dillon, Edward H. Dillon, Executor ”; (2) the value of real property located at 69-71 Pratt Street, Hartford, Conn., at April 24,1923; (3) the value of real property located at the corner of Main and Temple Streets, in Hartford, Conn., at the same date.
It is the contention of the Commissioner that the taxpayer is “ Edward H. Dillon, as Executor of the Estate of Charles Dillon,” and that the proper party to appeal is the executor and not the estate. With this contention we agree. But it appears to us that it is the executor who has made this appeal. The Board has jurisdiction to entertain it.
With respect to the value of the Pratt Street property at the date of the death of the decedent, April 24,1923, it is to be noted that this property was appraised by an appraiser, duly appointed by the Court of Probate for Hartford, Conn., for the purpose of the Connecticut State succession tax, at $110,000. In proof of this value the taxpayer *1141has presented the depositions of six real estate men of the City of Hartford, all of whom appear to be well qualified to express an opinion as to the value of the real estate in question. Their estimates of value run from $103,000 to $111,160. The Commissioner has submitted no evidence in support of his determination of a value of $125,000 for the property.
The appraised value of the Main Street property accepted and adopted by the court of probate was $610,000. The decedent’s one-half interest therein was $305,000. The same real estate experts of the City of Hartford have placed estimates upon the value of this property ranging from $591,000 to $611,621. In support of the Commissioner’s valuation of $337,500 for the decedent’s one-half interest, the Commissioner has presented the deposition of John M. Brady, who testified that in his opinion the property was worth close to $1,000,000 in 1923. He testified that his profession was “real estate.” Asked if he had handled much real estate in the business section of Hartford — that is, bought and sold much of it— he replied, “ I have not; no.” “ Q. Have you acted as broker % ” “A. Never sold any right here in the center, never have bought any, but I had some experience with that building some years ago.” He then testified that a man unknown to him in 1915 and claiming that he represented a Mrs. Kresse or Mrs. Kresge had made an offer for the premises and business of the Dillon Co. of $750,000, of which amount $250,000 was for the business, the tangible assets of which were approximately $75,000. Brady testified that the decedent refused to sell the property for $750,000. Brady did not know the name of the person who made him the offer and the offer was not in writing. Although apparently the Commissioner’s determination of a value of $675,000 for the property at the date of the death of the decedent was predicated upon a valuation made by Brady, we are of the opinion that Brady’s estimate of value is entitled to little weight. It appears to us that the preponderance of evidence shows a value of the property on April 24, 1923, of not more than $610,000 and that the decedent’s one-half interest was worth not more than $305,000.
Order of redetermination will be entered on 10 days’ notice, under Rule 50.
